Case: 5:05-cv-00382-JMH-REW            Doc #: 68-6 Filed: 02/27/09         Page: 1 of 1 - Page
                                          ID#: 766



                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                          CENTRAL DIVISION AT LEXINGTON

CIVIL ACTION NO. 05-382 JMH                                      FILED ELECTRONICALLY


UNITED STATES OF AMERICA                                                           PLAINTIFF

VS.                                         ORDER


MARY ELIZABETH CLAY, ET AL                                                      DEFENDANTS

                                          *******

       Upon motion of the Plaintiff, and the Court being otherwise sufficient advised,

       IT IS HEREBY ORDERED that the Motion of the Plaintiff, United States of America,

for Summary Judgment is GRANTED, and a Judgment will be entered contemporaneously with

this Order in favor of the United States. It is further ORDERED that Plaintiff’s Motion to

Dismiss Defendant’s Counterclaim is GRANTED, and that the counterclaim filed against the

Plaintiff be and is hereby DISMISSED in its entirety.

       So ordered this the _______ day of _____________, 2009.
